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          Case 1:20-cv-11677-FDS Document 1-8 Filed 07/01/20 Page 1 of 39                                   JOHN  WARREN
                                                                                                                   F.
                                                                                                             COUNTY CLERK
                                                                                                            DALLAS COUNTY



                                   CAUSE NO.          CC-20-02587-B



 DANNY WHEELER, JAMES                                     IN   THE COUNTY COURT
 ARROWOOD, KANITHA JONES, JERRY
 COMER, STEVEN HOFFMAN, MICHAEL
 CURRY, GERTHA MCKENNA, SCOTT
 ZUZEK, GINA HILL, KARON
 ZULEWSKI, RICHARD YOHN,
 CHARLOTTE DORSEY, PAULETTE                               AT LAW NUMBER
 LEAPHART, NATHAN YOUNG, SCOTT
 WILSON, VERRELL WYMAN,
 LAVERNE HAZLEY, and MORGAN
 BLEVINS,

                    Plaintiffs,                           DALLAS COUNTY, TEXAS

          vs.


 CR. BARD,         INC., a foreign corporation;
 BARD PERIPHERAL VASCULAR, INC.,
 an Arizona corporation; MCKESSON
 CORPORATION,             a corporation; and   DOES
 1   THROUGH        100   INCLUSIVE,

                    Defendants.



                   PLAINTIFFS’ ORIGINAL PETITION                AND JURY DEMAND
         Plaintiffs,   Danny Wheeler, James Arrowood, Kanitha          Jones,    Jerry   Comer, Steven

Hoffman, Michael Curry, Gertha McKenna, Scott Zuzek, Gina             Hill,   Karon Zulewski, Richard

Yohn, Charlotte Dorsey, Paulette Leaphart, Nathan Young, Scott Wilson, Verrell Wyman,

LaVerne Hazley, and Morgan Blevins, by and through the undersigned counsel, ﬁle             this Petition


and Jury Demand, and allege upon information and belief as follows:


                                                DISCOVERY

         1.        Pursuant t0 Rule 190 et seq 0f the Texas Rules of   t   Procedure, Plaintiffs request


Level   III   discovery control plan.



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                                                  INTROUDCTION

       2.       Danny Wheeler, James Arrowood, Kanitha                        Jones, Jerry   Comer, Steven Hoffman,

Michael Curry, Gertha McKenna, Scott Zuzek, Gina                            Hill,   Karon Zulewski, Richard Yohn,

Charlotte Dorsey, Paulette Leaphart, Nathan Young, Scott Wilson, Verrell                           Wyman, LaVerne

Hazley, and   Morgan Blevins     (hereinafter “Plaintiffs”) for their Petition, allege:


                                                         PARTIES

       3.       Danny Wheeler          is,   and was   at all   times material herein, a resident of Hawley, Jones


County, Texas.


       4.       James Arrowood          is,    and was   at all     times material herein, a resident 0f Johnson City,


Washington County, Tennessee.

       5.       Kanitha Jones      is,       and was     at all     times material herein, a resident of Memphis,


Shelby County, Tennessee.


       6.       Jerry    Comer is, and was        at all   times material herein, a resident 0f Jackson, Madison


County, Tennessee.


       7.        Steven Hoffman          is,   and was     at all     times material herein, a resident of Florence,


Florence County, South Carolina.


       8.       Michael Curry      is,       and was   at all   times material herein, a resident of Philadelphia,


Philadelphia County, Pennsylvania.


       9.        Gertha   McKenna        is,   and was     at all    times material herein, a resident of Aliquippa,


Beaver County, Pennsylvania.

       10.       Scott   Zuzek   is,    and was        at all     times material herein, a resident of Coaldale,


Schuylkill County, Pennsylvania.




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           11.   Gina    Hill   is,   and was            at all   times material herein, a resident 0f Pascagoula, Jackson


County, Mississippi.


           12.   Karon Zulewski              is,     and was          at all     times material herein, a resident 0f Trenton,


Wayne      County, Michigan.


           13.   Richard    Yohn       is,    and was             at all   times material herein, a resident of Buzzards Bay,


Barnstable County, Massachusetts.


           14.   Charlotte Dorsey             is,    and was          at all     times material herein, a resident of Rosedale,


Baltimore County, Maryland.


           15.   Paulette Leaphart            is,    and was         at all    times material herein, a resident   ofNeW Orleans,

Orleans County, Louisiana.


           16.   Nathan Young           is,        and was          at all     times material herein, a resident of Pembroke


Township, Kankakee County,              Illinois.



           17.   Scott   Wilson is, and was                 at all   times material herein, a resident 0f Sarasota, Sarasota


County, Florida.


           18.   Verrell    Wyman            is,     and was           at all         times material herein, a resident of Saint


Petersburg, Pinellas County, Florida.


           19.   LaVerne Hazley              is,    and was         at all     times material herein, a resident of Washington,


District   of Columbia County, District 0f Columbia.


           20.   Morgan Blevins              is,     and was          at all         times material herein, a resident 0f Bryant,


Jackson County, Alabama.


           21.   Defendant       CR.     Bard, Inc. (“Bard”)                         is   a corporation duly organized and existing


under the laws of the State 0f Delaware, With                                  its   principal place 0f business in     New   Jersey.


Citation    may be   served through                its    registered agent for service of process at               CT   Corporation




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System, 1999 Bryan St, Suite 900, Dallas, Texas 78201. Bard                    at all   times relevant to this action,


designed, set speciﬁcations, marketed, distributed, and sold the Bard Filter to be implanted within


patients throughout the United States.


        22.      Defendant Bard Peripheral Vascular,            Inc.,   (“BPV”)      is   a Wholly   owned    subsidiary


corporation 0f Defendant Bard, with           its   principal place of business at 1625               West 3rd    Street,


Tempe, Arizona. Citation may be served through                 its   registered agent for service of process at


CT   Corporation System, 3800 N. Central Ave, Suite 460, Phoenix, AZ, 85012.                          BPV   at all   times


relevant to this action, designed,         set,     speciﬁcations, manufactured, prepared,                compounded,

assembled, processed, marketed, distributed, and sold the Bard Filter t0 be implanted in patients


throughout the United States.


        23.      Defendant McKesson Corporation (“McKesson”)                         is   a Delaware Corp with          its



principal place of business located in Dallas county Texas. Citation                      may be     served through     its



registered agent for service 0f process at Corporation Service                      Company       d/b/a   CSC-Lawyers

Incorporating Service       Company, 211 East 7th       Street, Suite 620, Austin,           TX 78701.

        24.      At   all   times relevant t0 this Petition,     McKesson was engaged                in the business     of


licensing, distributing, selling, marketing and/or providing health information technology, medical


supplies,   and care management tools into        interstate   commerce,      either directly or indirectly through


third parties or entities throughout Rowlett, Dallas County,                Texas and surrounding         cities, as   well


as throughout the United States.       McKesson’s business included designing, launching, marketing,

establishing,   and administering the Bard ReachTM, a marketing                      initiative   designed to ensure


patients implanted with       Bard IVC   ﬁlters are tracked for follow        up care or retrieval of the      ﬁlter.   On

information and belief, Defendant        McKesson marketed            the   Bard   Filters   With Which the Plaintiffs


were each implanted.




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          25.    A11 references to “Defendants” hereafter shall refer to Defendants Bard,                       BPV,

McKesson, and     DOES        1   through 100.


          26.    The true names,         identities, or capacities,    whether individual, associate, corporate or


otherwise 0f defendants,          DOES   1   through 100, are unknown to Plaintiffs Who, therefore, sues said


Defendants by such ﬁctitious names.                   When    the true names, identities 0r capacities 0f said


ﬁctitiously designated Defendants are ascertained, Plaintiffs will seek leave of the Court t0                  amend

this Petition t0 insert the true        names,      identities,   and/or capacities 0f    DOE   Defendants, together


with the proper charging allegations against said                 DOE Defendants.

          27.    Plaintiffs are      informed and believes and thereon alleges that each of the Defendants


sued herein as a      DOE         Defendant    is   responsible in    some manner    for the acts, omissions,        and

conduct, which proximately resulted in and/or was a substantial contributing factor in Plaintiffs’


injuries.


          28.    Upon       belief, all ﬁctitious      Defendants were residents of the County 0f Maricopa,


State 0f Arizona; and/or          were organized and existing under the laws of Arizona and doing business

throughout the United States, and conducting business therein 0n the date of the accident alleged


herein.


                                         JURISDICTION AND VENUE

          29.    At   all   relevant times, each Defendant transacted, solicited, and conducted business


in Dallas County, in the State         0f Texas, and derived substantial revenue from such business.


          30.    At   all   relevant times, each Defendant expected or should have expected that               its   acts


would have consequences Within               the United State of America and the State of Texas.


          31.    Venue       is   proper in Dallas County, Texas, because           all   or a substantial part of the


events or omissions giving rise t0 this claim occurred in Dallas County, Texas. TEX. CIV. PRAC.                        &


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REM. CODE        §15.002(a)(1). In addition, venue              is   proper in Dallas County, Texas, because


Defendant McKesson Corporation’s principal ofﬁce in Texas                      is   located in Irving, Dallas County,


Texas. TEX. CIV. PRAC.         & REM. CODE §15.002(a)(3).
       32.        Plaintiffs’ claims are     with the jurisdictional limits 0f the Court.                Plaintiffs’    seek


monetary   relief over $1,000,000. Tex. R. CiV. P. 47.


       33.         This Court has subject—matter jurisdiction over this lawsuit because the amount in


controversy exceeds this Court’s            minimum         jurisdictional requirements.           TEX. GOVT.         CODE

§ 25.0592.


       34.         The Court has personal           jurisdiction        over Defendant         McKesson Corporation

because   its   national corporate headquarters and principal place 0f business                   is   located in Irving,


Dallas County, Texas, and because Plaintiff Danny Wheeler                    is   a resident of the State of Texas.


       35.         The Court has personal jurisdiction over each Defendant because each Defendant

committed a       tort in   Whole 0r    in part in the State          of Texas. TEX. CIV. PRAC.            &    REM. CODE

§17.042(2).


       36.        Each Defendant marketed,           advertised,       and distributed Bard      Filters in the State     of


Texas. The Court has personal jurisdiction over each Defendant because each Defendant


purposefully availed itself of the privileges and beneﬁts 0f conducting business in Texas by


marketing, advertising, selling, and distributing products in the State 0f Texas.


       37.        Defendant McKesson Corporation                is   a citizen 0f the State of Texas       by   Virtue 0f its


maintenance of       its    principal place of business in Irving, Dallas County, Texas.                        Each other

Defendant purposefully availed            itself   of the State of Texas by inter alia contracting With


McKesson Corporation           to distribute the   Bard   Filters.   Each Defendant would         suffer   minimal or no

inconvenience litigating this matter in the State 0f Texas, which                         is   a convenient location.




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Traditional notions of fair play and substantial justice are in n0              way compromised by maintenance

0f these claims in the State of Texas.


                                    GENERAL FACTUAL ALLEGATIONS
           38.         Upon   information and belief, Defendants have designed, manufactured, prepared,


compounded, assembled, processed,                 labeled, marketed, distributed,        and sold many       iterations      of


inferior   vena cava ﬁlters, including but not limited to, Recovery®                Filter,   G2® Filter, G2X® Filter,

Eclipse®     Filter,     Meridian®    Filter,   and the Denali®     Filter. Plaintiffs   bring this action after being


implanted with one 0f Defendants inferior vena cava ﬁlters, herein referred t0 as “Bard Filter” or


“Bard   Filters”.



           39.         Plaintiffs bring this case for serious personal injuries suffered as a result             of being


surgically implanted with one 0f Defendants               Bard   Filters.



         40.           The Bard    Filter   was designed, manufactured, prepared, compounded, assembled,

processed, labeled, marketed, distributed, and/or sold by for the prevention ofblood clots (thrombi)


from   travelling       from the lower portions 0f the body        to the heart   and lungs by Defendants.

         41.           Prior t0 Plaintiffs being implanted with a            Bard   Filter,   Defendants knew and/or


should have           known   that the device   was   defective and unreasonably dangerous for, inter               alia,   the


following reasons:


                 a.    Defendants failed t0 conduct any clinical              testing,   such as animal studies, t0


                       determine   how      the device   would function once permanently implanted                    in the


                       human body.

                 b.    Defendants knew and/or should have           known     that the   Bard   Filter   had high   rates    of


                       fracture, migration,     and excessive    tilting   and perforating the vena cava wall once

                       implanted in the     human body. Defendants knew             and/or should have        known         that




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                     such failures exposed patients t0 serious               injuries, including: death,        hemorrhage,


                     cardiac/pericardial tamponade, cardiac arrhythmia and other                       symptoms     similar t0


                     myocardial infarction, severe and persistent pain, perforations of tissue, vessels and


                     organs,    and    inability    t0    remove     the    device.     Upon      information and belief,


                     Defendants also knew or should have             known that certain conditions           or post—implant


                     procedures, such as morbid obesity or open abdominal procedures, could affect the


                     safety   and   integrity   of the device. Further, Defendants knew 0r should have                 known

                     that these risks for the       Bard    Filter   were and        are substantially higher than other


                     similar devices.


                c.   Further, Defendants        knew     and/or should have     known that the Bard Filter contained

                     conditions,     which Defendants did not              intend,    which resulted      in the device not


                     performing as safely and the ordinary consumer would expect.


                d.   Despite being aware 0f these risks, Defendants misrepresented, omitted, and/or


                     failed t0 provide adequate          warnings of these risks 0r instructions for safe use.


                e.   Even When Defendants designed and began marketing what they                             alleged t0 be a


                     device that speciﬁcally reduced these risks, they               still   failed to issue a recall or notify


                     consumers      that a safer device     was    available.


                           INFERIOR VENA CAVA FILTERS GENERALLY

          42.        Inferior   vena cava (“IVC”) ﬁlters ﬁrst came 0n                   to the    medical marketed in the


1960’s.   Over the years, medical device manufacturers have introduced                          several different designs of


IVC   ﬁlters.


          43.        An IVC     Filter is a device that is         designed to ﬁlter 0r catch” blood clots (called


“thrombi”) that travel from the lower portions 0f the body to the heart and lungs.                           IVC   ﬁlters   may



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be designed t0 be implanted, either permanently 0r temporarily, in the inferior vena cava—the


largest vein in the   human body.

          44.    The    inferior   vena cava      is   a vein that returns blood t0 the heart from the lower


portions of the body. In certain people, for various reasons, thrombi travel from the vessels in the


legs    and pelvic, through the vena cava and            into the lungs.   Often times, these thrombi develop in


the deep leg veins. These thrombi are called “deep vein thrombosis” or                    “DVT”. Once thrombi

reach the lungs, they are considered “pulmonary emboli” or “PE”. Pulmonary emboli present risks


to   human health. They    can,    and often d0,       result in death.


          45.    Certain people are at an increased risk for the development of                    DVT   or PE. For


instance,   someone Who undergoes knee 0r hip joint replacement surgery                  is at   risk for developing


DVT/PE. Obese      patients are also at an increased risk for              DVT/PE. So   too are people    who have

vascular diseases or     Whom       have experienced previous strokes.           A   number of     other conditions


predispose people t0 develop        DVT/PE,       including “coagulopathies” and clotting disorders


          46.    Those people       at risk for    DVT/PE         can undergo medical treatment to manage the


risk.   For example, a doctor       may   prescribe medications like Heparin, Warfarin, or               Lovenox    t0


regulate the clotting factor 0f the blood. In              some people Who     are at high for    DVT/PE,    0r    Who

cannot manage their conditions with medications, physicians                          may recommend        surgically


implanting an    IVC   ﬁlter t0 prevent    thromboembolic events.

          47.    As    stated above,   IVC   ﬁlters       have been 0n the market for decades. The ﬁrst IVC

ﬁlters   marketed were permanent        ﬁlters.   These devices were designed to be        left in   a patient’s   IVC

permanently and have long-term follow-up data (of up t0 20 years and longer) supporting their use


and efﬁcacy. Beginning       in 2003, manufacturers also            began marketing What are known as optional

0r retrievable ﬁlters. These ﬁlters are designed so they can be surgically               removed from a       patient




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after the risk        of PE has subsided. These      IVC      ﬁlter designs, however,         were not intended      to   remain

within the       human body         for indeterminate periods          0f time. In other words, the       initial   designs 0f


retrievable       IVC     ﬁlters    were intended      to   remain implanted for a ﬁnite period of time. The


Recovery®         Filter    System, the subsequent          G2®   Filter,    G2X®   Filter,   Eclipse®   Filter,    Meridian®

Filter,   and Denali®        Filter   System, manufactured by Bard and              BPV are all examples 0f retrievable

ﬁlters.    As shown below, Bard’s           retrievable       IVC      ﬁlters   have been plagued With problems —            all



created    by Bard and BPV.

           48.         As   recently as October 2015, an expansive article published in the Annals 0f


Surgery concerning trauma patients inserted With                       IVC   ﬁlters concluded that   IVC    ﬁlters   were not

effective in preventing            pulmonary emboli, and instead actually caused thrombi                 to occur.


           49.         Comparing the      results   of over 30,000 trauma patients            who had    not received       IVC

ﬁlters With those           who had    received them, the Annals 0f Surgery study published                    its   alarming


results:


                 9’    Almost twice the percentage ofpatients with IVC                ﬁlters in the study died       compared

                       t0 those that   had not received them;

                 b.    Over ﬁve times     the relative      number of patients With IVC         ﬁlters developed      DVTs;

                 c.    Over four times the          relative      percentage       of patients with ﬁlters developed


                       thromboemboli;


                 d.    Over twice     the percentage of patients developed a           pulmonary embolism — the very

                       condition Bard and    BPV told the FDA, physicians, and the public that its IVC ﬁlters

                       were designed     t0 prevent.




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        50.        This Annals 0f Surgery study              — and many       others referenced    by     it
                                                                                                               — now shows

without any question that      IVC     ﬁlters are not only utterly ineffective but that they are themselves a


health hazard.


                                             THE RECOVERY FILTER

                                       FDA Clearance and Intended Use

        51.       Bard has sold several models of IVC                      ﬁlter,   including but not limited to the


Recovery    Filter, the   G2 Filter,   the   G2   Express    Filter, the   Eclipse Filter, and the Denali Filter. Bard


began   sales   0f the Recovery     Filter in 2003,     and each 0f the subsequently          listed   models above are

substantially similar to the        Recovery      Filter.   In seeking 510(k) clearance from the               FDA—which

permits companies to         sell   medical devices that are substantially similar to predicate devices


without substantial clinical testing—Bard has listed the aforementioned devices as predicate


devices in their 510(k) applications. Each 0f the aforementioned devices has been wrought With


safety issues.   The   safety issues in the predicate devices         must be understood in order to            fully explain


the safety issues with the Bard.


        52.        In 2002, Bard and         BPV submitted a notiﬁcation of intent t0 the FDA t0 market the

“Recovery®       Filter   System” (hereafter “Recovery®” 0r “Recovery®                   Filter”) for the prevention         of


recurrent   pulmonary embolism by placement                  in the inferior    vena cava.   On November              27, 2002,


the   FDA   cleared the      Recovery®        Filter for    marketing and use in the prevention of recurrent


pulmonary embolism Via permanent placement                     in the   vena cava in the following             situations: (a)


pulmonary thromboembolism when anticoagulants are contraindicated;                          (b) failure   of anticoagulant


therapy for thromboembolic disease; (c) emergency treatment following massive pulmonary


embolism Where anticipated beneﬁts 0f conventional therapy                            are reduced;     and      (d)    chronic,


recurrent pulmonary        embolism where anticoagulant therapy has                  failed or is contraindicated.




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           53.        In April 2003, Bard and             BPV submitted a Section 510(k) premarket notiﬁcation 0f

intent to       market the Recovery           ®   Filter for the additional intended         used of optional    retrieval.    The

FDA cleared this additional intended use 0n July 25,                        2003.


           54.        Bard and BPV began actually marketing the device                      in April 2003, but did not begin


full   market release           until 2004.   Bard and    BPV were aware that the Recovery® Filter was also used

extensively off—label, including for purely prophylactic reasons for trauma patients 0r patients With


upcoming         surgeries such as bariatric procedures.


                                                  What Is   It   and    How Is It Used

           55.        The Recovery             Filter consists     of two (2) levels 0f six (6) radially distributed


NITINOL          struts that are          designed to anchor the ﬁlter in the inferior vena cava and to catch an


embolizing         clots.   There are       six short struts,    which are commonly referred           to as the arms,   and       six


long     struts,   which are commonly referred                t0 as the legs.      Each   strut is   held together by a single


connection t0 a cap located                 at the   top 0f the device. According to the Patent ﬁled for this device,


the short struts are primarily for “centering” or “positioning” within the vena cava and the long


struts   With attached hooks are designed primarily to prevent the device from migrating in response


to   “normal respiratory movement” 0r “pulmonary embolism”.


           56.        As noted        above, the Recovery® Filter            is   constructed with     NITINOL, which         is   an


acronym         that stands for Nickel         Titanium Naval Ordnance Laboratory.              NITINOL possesses        “shape


memory”. That             is,   NITINOL       will change shape according t0 changes in temperature,                 and then,

retake    its   prior shape after returning t0           its initial   temperature.   When placed in saline, therefore, the

NITINOL          struts   become      soft    and can be straightened        t0 allow delivery       through a small diameter


catheter.       The metal        struts   then reassume their original shape          When warmed        to   body temperature

inside the       vena cava.




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         57.          The Recovery®        Filter is inserted   by a    catheter that   is   guided by a physician through


a blood vessel into the inferior vena cava.               The Recovery®         Filter is     designed to be retrieved in a


similar fashion.       The implanting physician normally reviews an imaging study                          prior t0 placement


to determine the size         of the IVC, renal vein location, and t0 identify any venous anomalies 0r clots


in the   vena cava. Following placement, the physician will normally use an imaging study                                   to


conﬁrm      successful placement.


                                      Inherent Risks 0f the Recovery® Filter


         58.          The Recovery®        Filter is   prone t0 an unreasonably high risk 0f failure and patient


injury following placement in the             human body.       Multiple studies have reported Bard’s Recovery®


Filter to   have a fracture and migration rate ranging from 2 1% t0 3 1.7%.                     When such failures occur,

shards of the device, 0r the entire device, can travel t0 the heart, where                            it   can cause cardiac


tamponade, perforation 0f the             atrial wall,   myocardial infarction and death. These fractured shards


may   also   become     too   embedded      in tissue 0r migrate to locations, such as the lungs, such that they


are too dangerous to remove.           These patients are exposed            t0 a lifetime     of future   risk.



         59.          The Recovery®        Filter failures described         above occur      at a substantially   higher rate


than with other       IVC   ﬁlters.


         60.          The Adverse Event Reports                     (AERS)    associated       with   IVC      ﬁlter   devices


demonstrates that Bard’s            IVC   Filters are far    more prone       t0 device failure then are other similar


devices.     A    review 0f the       FDA MAUDE            database from the years 2004-2010 reveals data t0


establish that Bard’s         IVC   Filters are responsible for the following percentages                  of all AERs:


                 a.   50%   0f all adverse events


                 b.   64%   of all occurrences 0f migration 0f the device


                 c.   69%   0f all occurrences of vena cava wall perforation




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                 d.    50%    of all occurrences 0f ﬁlter       fracture.


           61.         These    failures attributable, in part, to the fact that the            Recovery®        Filter   was

designed so as to be unable to withstand the normal anatomical and physiological loading cycles


exerted in Vivo.


           62.         In addition to design defects, the             Recovery®    Filter suffers    from manufacturing

defects.    These manufacturing defects include, but are not limited                      t0,   the existence 0f         “draw

markings” and circumferential grinding markings on the exterior 0f the surface 0f the device. The


presence of these draw markings and/or circumferential grinding markings further compromises


the structural integrity of the device While in Vivo. In particular, the                 Recovery®      Filter is   prone t0


fail at   0r near the location 0f draw markings/circumferential grinding markings                      0n the   struts   of the


device. Put simply, the             Recovery®        Filter is not     of sufﬁcient strength t0 withstand normal


placement within the human body. The presence 0f the aforementioned exterior manufacturing


defects    makes      the device   more    susceptible t0 failure.


                               What Bard and BPV Knew                 0r Should    Have Known

           63.         Bard and BPV knew        that   n0   clinical testing,   such as animal studies, were conducted


t0 determine          Whether the Recovery®          Filter   would perform       safely once implanted in the       human

body and     subj ected to      normal in Vivo      stresses.


           64.         Soon    after the   Recovery®        Filter’s introduction to the   market in 2003, Bard and


BPV began receiving large numbers 0f adverse                     event reports (“AERS”) from healthcare providers


reporting that the        Recovery®        Filter   was   fracturing post-implantation      and     that fractured pieces,


and/or the entire device was migrating throughout the                       human body,    including t0 the heart and


lungs.    Bard and      BPV     also received a large       number of AERs reporting        that the   Recovery®         Filter




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was found        t0    have excessively      tiled and/or perforated the inferior         vena cava post-implantation.

These   failures       were often associated with reports of severe patient          injuries    such   as:



                 a.    Death;


                 b.    Hemorrhage;

                 c.    Cardiac/pericardial     tamponade (pressure caused by a collection of blood                  in the area


                       around the   heart);


                 d.    Cardiac arrhythmia and other symptoms similar to myocardial infarction;


                 e.    Severe and persistent pain;


                 f.    And perforation of tissue,     vessels,    and organs.

           65.         Within the ﬁrst year of full market release of the Recovery®               Filter,     Bard and   BPV

received at least 32          AERS reporting that the Recovery® Filter had fractured in Vivo                  and   at least   22

AERS reporting that the           entire device   had migrated      in Vivo.   Of the 22   reported migration failures,


at least   nine (9) were reported t0 have been associated With patient death.


           66.         From 2003 through September 2005, Bard and BPV                          received ever growing


numbers of AERS reporting the above described                    failures   and patient   injuries.   Defendants knew or


should have           known   that the failure rates associated With the        Recovery®      Filter   were   substantially


higher than other similar products on the market.


           67.         Bard and    BPV were      well aware of why the Recovery® ﬁlter was failing and had


available design changes t0 help reduce the failure rate.


           68.         The diameter of the hooks on        the    Recovery®      ﬁlter    had been reduced which had

reduced the devices           ability to   remain stable and not    fracture.




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       69.         Bard and     BPV were        also   aware that     failing to electropolish the wire material prior


to distribution    meant    that the     Recovery®      Filter   would be exposed           to surface   damage meaning       a


reduction on the fatigue resistance of the ﬁlter.


       70.         A few examples 0f Defendants awareness of the unreasonably dangerous problems
with Bard    IVC   ﬁlters include:


             a.    On June      18, 2003,      BPV engineer Robert Carr sent an email noting that chamfering

                   the edge 0f the cap         would reduce the likelihood of fracture;

             b.    On March          16,2004, a BPV engineer sent an email admitting that the surface                 damage

                   seen on the Recovery® from the manufacturing process decreases                                       fatigue


                   resistance    and    that electropolishing increases fatigue resistance;


             c.    In an April         2004 meeting,     BPV      was warned by           its   physician consultants, Drs.


                   Venbrux and Kaufman that the migration resistance of the Recovery®                           ﬁlter   needed

                   t0   be raised from 50        mmHg to     140      mmHg. They         further    warned   BPV that Bard’s

                   Recovery®          ﬁlter   was a “wimpy”      ﬁlter   and   its   radial force   was inadequate   to assure


                   stability;



             d.    On May       5,   2004, a   BPV engineer sent an email              stating that   adding a “chamfer” to


                   the ﬁlter    would “address the arm           fracture issue;


             e.    On May       26, 2004, a      BPV    engineer sent an email stating that a proposed               modiﬁed

                   Recovery®          ﬁlter design With a large chamfer lasted 50 bending cycles before


                   breaking, whereas another proposed                    modiﬁed Recovery®               ﬁlter with a small


                   chamfer broke         after ten   bending cycles.




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                                        Market Withdrawal, but no Recall

          71.       In late    2004 0r early 2005, Bard and BPV, Without notifying consumers of the

design and manufacturing               ﬂaws    inherent in the         Recovery®          Filter,   began redesigning the

Recovery®        Filter in   an attempt to correct those ﬂaws. The redesigned ﬁlter                   is   known   as the   G2®

Filter,   which stands       for   Second Generation Recovery®              Filter.



          72.       On August         10,   2005, Bard and            BPV    submitted a Section 5 10(k) premarket


notiﬁcation 0f intent t0 market the           G2® Filter for the prevention 0f recurrent pulmonary embolism

Via placement in the inferior vena cava. Bard and                        BPV          cited the   Recovery®       Filter as the


substantially equivalent predicate device.              Bard and       BPV        stated that the differences     between the

Recovery®        Filter   and the     G2®    Filter   were primarily dimensional and no material changes or

additional      components were added.          On August        29, 2005, the        FDA cleared the G2® Filter for the

same intended uses         as the    Recovery®    Filter,   except that      it   was not cleared   for retrievable use.


                                        The 510(K) Process Insufﬁciencv

          73.       Defendants sought Food and Drug Administration (“FDA”) approval to market the


G2® Filter and/or its components under Section 510(k)                       0f the Medical Device Amendment.


          74.       Section 510(k) allows marketing of medical devices if the device                         is   substantially


equivalent to other legally marketed predicate devices without formal review for the safety or


efﬁcacy 0f the said device. The             FDA explained the difference between the 5 10(k) process and the

more rigorous “premarket approval” process                  in   an amicus brief ﬁled With the Third Circuit in Horn


V.   Thoratec Corp., 376 F.3d 163, 167 (3d Cir. 2004):


                    A     manufacturer can obtain an              FDA       ﬁnding of “substantial equivalence” by

                    submitting a premarket notiﬁcation to the agency in accordance With section


                    510(k)...A device found to be ‘substantially equivalent’ t0 a predicate device                            is




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                     said t0 be “cleared”            by   FDA    (as       opposed   to   “approved” by the agency under a


                     [premarket approval]).           A   pre-market notiﬁcation submitted under 510(k)                             is   thus


                     entirely different       from a [pre-market approval] Which must include data sufﬁcient

                     t0 demonstrate that the device is safe                  and   effective.    (Emphasis in         original).


         75.         In Medtronic, Inc. V. Lohr, 518 U.S. 470,478-79 (1996), the                                       Supreme Court

similarly described the 5 10(k) process, observing:


                     If the    FDA concludes 0n the basis 0f the                [manufacturer’s] §510(k) notiﬁcation that


                     the device    is     ‘substantially equivalent’ to a pre-existing device,                   it   can be marketed


                     Without further regulatory analysis...The §510(k) notiﬁcation process                                     is   by n0

                     means comparable           t0 the [premarket approval] process; in contract to the 1,200


                     hours necessary t0 complete a                PMA review,             the §510(k) review           is   completed in


                     average 0f 20 hours. .Section §5 10(k) notiﬁcation requires
                                                 .                                                      little   information, rarely


                     elicits   a negative response from the                 FDA, and      gets process quickly.


                                                 Recoverv® Cone Svstem

         76.         The market appeal          for the     Recovery®          Filter     was   the ability t0 retrieve the ﬁlter


once the ﬁlter had served           its   purpose. According t0 the Instructions for Use, only the Recovery®


Cone System could be used to retrieve the Recovery®                           Filter (as well as all    subsequent generations


0f Defendants        IVC   Filters).



         77.         The Recovery® Cone System                   is   an independent medical device requiring approval


by the   FDA under the pre-market approval process 0r, if a substantially equivalent medical device

was already on        the market, clearance          by   the   FDA pursuant t0 the             510(k)-app1ication process.


         78.         Although Bard and               BPV        marketed and sold the Recovery® Cone System


separately,    it   never sought or obtained approval or clearance from the                         FDA for this device.


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           79.     Defendants sale of the Recovery® Cone System was, therefore,                       illegal.



           80.     Defendants illegally sold the Recovery® Cone System in order to promote the


Recovery®        ﬁlter (as well as subsequent retrievable              IVC   ﬁlters) as   having a retrievable option.


           81.     On    July 12, 2015, the        FDA   sent a letter to      Bard informing them 0f the marketing

without clearance or approval as required by Federal Food, Drug, and Cosmetic Act.                               Due   to the


nature of the       Recovery® Cone System, Defendants were required                             t0 submit a pre-market


notiﬁcation to the      FDA and by failing to do so, were in direct Violation of section 5 10(k), 21               U.S.C.


360(k), and 21 C.F.R. 807.81(a)(3)(ii).


           82.     The   letter   continues 0n that in an inspection of the           CR. Bard Inc.    facility located at


289 Bay Rd, Queensbury,           NY was not in compliance With the current good manufacturing practice
requirements of the Quality System regulation found                         at Title 21,   Code of Federal Regulations

(CFR), Part 820. This section relates t0 the manufacturing, packing, storage, or installation 0f these

devices were not in conformity With the                   Code suggesting           that the devices    were subject       t0


manufacturing defects.


                                                   THE G2® FILTER

           83.     Bard and       BPV   marketed the      G2®     Filter as     having “enhanced fracture resistant”,


“improved centering”, and “increasing migration resistance”. However, Bard and BPV again failed

t0   conduct adequate clinical          testing,   such as animal studies, t0 ensure that the device would


perform safely and effectively once implanted in the human body and subjected t0 in Vivo                          stresses.


Not   surprisingly, the    G2®      Filter’s design causes        it   t0   be of insufﬁcient integrity and strength t0


Withstand normal in Vivo body stresses within the              human body          s0 as t0 resist fracturing, migrating,


titling,   and/or perforating the inferior vena cava.




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           84.        Also, like   its   predecessor, in addition to design defect, the           G2® Filter suffers from

manufacturing defects. These manufacturing defects include, but are not limited                           to,   the existence


0f “draw markings” and circumferential grinding markings 0n the exterior 0f the surface of the


device.    The presence 0f         these    draw markings and/or circumferential grinding markings                     further


compromises the          structural integrity of the        G2®       Filter in Vivo. In particular, the        G2®   Filter is


prone to    fail at    or near the location 0f draw markings/circumferential grinding markings 0n the


struts   0f the device. Put simply, the             G2®   Filter is not    of sufﬁcient strength t0 withstand normal


placement within the human body. The presence 0f the aforementioned exterior manufacturing


defects    makes      the device   more     susceptible t0 fatigue failure.


           85.        Thus, the    G2® Filter shares the same defects and health risks as its predicate device.

           86.        As with   the   Recovery®       Filter,    Bard and   BPV      immediately began receiving large


numbers 0f AERS reporting                that the   G2® Filter was,      inter alia, fracturing, migrating, excessively


tilting,   and perforating the vena cava once implanted. These                      failures   were again often associated

with reports of severe patients injuries such              as:



                 a.   Death;


                 b.   Hemorrhage;

                 c.   Cardiac/pericardial      tamponade (pressure caused by a collection of blood                in the area


                      around the    heart);


                 d.   Cardiac arrhythmia and other symptoms similar to myocardial infarction;


                 e.   Severe and persistent pain;


                 f.   And perforation of tissue,        vessels,      and organs.




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          87.     Defendants represent the fracture rate of the           G2® Filter to be     1.2%. Based upon a


review of the data available in the public,        this representation      does not accurately reﬂect the true


number of incidences of device        fracture for the    G2®   Filter.



          88.     A   review 0f the    MAUDE       database from the years 2005-2010 reveals data t0


establish that the    Bard and BPV’s vena cava       ﬁlters (including the      G2® Filter)     are responsible for


the maj ority of all reported adverse events related t0 inferior vena cava ﬁlters.


                       BARD AND BPV’S KNOWLEDGE OF THE RISK OF
                               FAILURE AND RESULTING DANGERS

          89.     Upon   information and belief, Plaintiffs allege that as early as 2003, Bard and              BPV

were aware and had knowledge 0f the                 fact that the      Recovery®      Filter   was   defective and


unreasonably dangerous and was causing injury and death t0 patients                  who had received    it.   Due   t0


the similarities of the ﬁlters, Defendants       Bard and      BPV were     aware   that all the subsequent     Bard

Filters   were defective and unreasonably dangerous             for they    were causing injury and death            to


patients   who had received    it.




          90.     Data establishes    that the failure rates    of the Bard   Filter is/was    exceedingly higher


than the rate that Bard and     BPV have      in the past   and currently continue     to publish to the   medical


community and members 0f the           public. Further,     Bard and      BPV were   aware or should have been

aware that the Bard      Filter has substantially higher failure rates than         d0 other similar products on

the market, yet   Bard and    BPV have failed t0 warn consumers of this fact.

          91.     From   the time the   Bard    Filter   became   available on the market, Defendants           Bard

and BPV embarked 0n an aggressive campaign of “off label marketing” concerning the Bard Filter.

This included representations        made   to physicians, healthcare professionals,      and other members 0f




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the medical    community       that the      Bard   Filter   was   safe   and effective   for retrievable use prior to the


FDA approving the Bard Filter for retrievable use.

        92.        In a letter from the       FDA to CEO           Timothy M. Ring of C.R. Bard          Inc.,   on July   13,


2015,   it   was   detailed    how     Defendants had failed t0 establish and maintain procedures for


complaints related to their products:


                   Your      current     procedures          governing        complaint     investigation
                                   Standard for Product Complaint Handling (b)(4),
                   activities, (b)(4)

                   Standard for Complaint Investigation Process (b)(4), Complaint
                   Investigation Activity (b)(4),             BPV
                                                               Complaint Handling System,
                   (b)(4),   and   (b)(4),   Complaint Investigation Procedures, (b)(4) d0 not
                   include adequate instructions for ensuring that complaints involving
                   a device or device component provided by a supplier are adequately
                   evaluated for root cause 0f the alleged device failure and that
                   appropriate corrective action      implemented With your suppliers.
                                                             is

                   Complaint (b)(4) for a G2 Filter, embolization of a detached ﬁlter
                   arm With associated areas of hemorrhage and necrosis in the right
                   lung was ﬁled as a malfunction Medical Device Report [MDR] and
                   should have been ﬁled as a death. The following Complaints were
                   ﬁled as malfunctions and should have been ﬁled as serious injuries:
                   Complaint (b)(4), Eclipse Filter, detached ﬁlter limb resulting in
                   pericardial effusion and cardiac catheterization; (b)(4), G2 Express
                   Filter, broken ﬁlter and surgical intervention; (b)(4), Denali Jugular

                   System, detached ﬁlter arm embedded in IVC wall with ﬁlter
                   retrieval; (b)(4), G2 Filter, detached ﬁlter limb in renal vein with
                   IVC      wall perforation and blood thinner treatment;                     (b)(4),   G2
                   Express Filter, IVC perforation and aneurysm; (b)(4), G2 Filter,
                   abdominal pain with ﬁlter legs protruding through IVC wall and
                   percutaneous removal; (b)(4),              G2   Filter,   abdominal pain With ﬁlter
                   legs perforating        IVC   wall, partial retrieval        and residual ﬁlter leg
                   fragment embedded in IVC wall. Complaints (b)(4) and (b)(4) report
                   at least 10 patients who were exposed to scheduled retrieval surgical

                   procedures to remove an               IVC       ﬁlter that  were not       successful.
                   However,        these     complaint        ﬁles      do not document         sufﬁcient
                   information to allow for adequate complaint investigation and
                   disposition, including, but not limited t0,                MDR determination.        For
                   example, the complaints do not include information regarding
                   prolonged 0r repeated surgery that                  may have   occurred as a result of
                   failed attempts t0        remove    the ﬁlters, information regarding         Why the
                   ﬁlters    were scheduled to be removed and potential complications
                   related to leaving  them in the patient due to failed removal, and/or




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                    if   any additional drugs or anesthetics had              to    be supplied    t0 the
                    patients.


         93.        The     letter also   charges Bard and      BPV with failure to     ensure compliance with their


speciﬁed requirements:


                    Failure t0 establish and maintain procedures to ensure that                       all

                    purchased 0r otherwise received product and services conform to
                    speciﬁed requirements, as required by 21 CFR 820.50. In particular,
                    21 CFR 820.50(a) requires that each manufacturer establish and
                    maintain requirements, including quality requirements, that must be
                    met by     suppliers, contractors,       and consultants.

         94.        The     FDA   went on      t0 note that    Bard did indeed respond         to these allegations      from

the   FDA,    but their responses were in fact inadequate as to several of the allegations.


         95.        The conduct of Bard and BPV              as alleged in this Petition constitutes willful, wanton,


gross,   and outrageous corporate conduct               that demonstrates a conscious disregard for the safety                0f


the Plaintiffs 0r their healthcare providers.               Bard and    BPV   had actual knowledge of the dangers

presented by the Bard          Filter,   yet consciously failed t0 act reasonably        t0:



               a.   Inform or warn         Plaintiffs, their physicians, 0r the public at large       0f these dangers;


               b.   Establish and maintain an adequate quality and post-market surveillance system;


                    and

               c.   Recall the Bard Filter from the market.


         96.        Despite having knowledge as early as 2003 0f the unreasonably dangerous and


defective nature 0f the         Bard      Filter,   Bard and   BPV    consciously disregarded the      known         risks   and

continued to actively market and offer for sale the Bard                  Filter.



         97.        Plaintiffs further allege that         Bard and BPV acted in willful, wanton,           gross,   and total

disregard for the health and safety 0f the users 0r consumers 0f their Bard Filter, acted t0 serve


their   own    interests,   and having reason         t0   know and   consciously disregarding the substantial risk




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that their product      might     kill   0r signiﬁcantly     harm      patients, or signiﬁcantly injure the rights          0f


others, consciously        pursued a course of conduct knowing that such conduct created a substantial


risk   of signiﬁcant harm t0 other persons.


          98.      Each    Plaintiff     was implanted with an           inferior   vena cava    ﬁlter, including     but not


limited   t0,   Recovery®    Filter,     G2® Filter, G2X® Filter, Eclipse® Filter, Meridian® Filter, and the

Denali®    Filter.    As   a result of Bard’s negligent, willful, and wrongful conduct in connection With


the    manufacture,        assembly,       marketing,     testing,     distribution,     processing,     preparation,     and

compounding,         Plaintiffs   have suffered    injuries, including        but not limited t0       tilting,   perforation,


migration, fractures, and breakage, and Will continue t0 suffer injuries in the future.


                                          FRADULENT CONCEALMENT

          99.      Any     applicable statutes of limitations have been tolled              by   the   knowing and      active


concealment and denial of material             facts   known by Defendants When             they had a duty t0 disclose


those facts.     They have deprived          Plaintiffs   of   Vital   information essential to the pursuit of their


claims, without any fault or lack of diligence                 on   Plaintiffs’     pan, thus delaying timely ﬁling of


Plaintiffs’ causes     of action.


          100.     Defendants are estopped from relying on the                 statute   0f limitations defense because


Defendants failed to timely disclose, among other things, facts evidencing the defective and


unreasonably dangerous nature of the Bard                 Filter.



          101.     Plaintiffs     and    their healthcare providers could not reasonably               have discovered the

claims    made   herein due t0 Defendants actions.


          102.     Bard and       BPV are and were under a continuing duty to disclose the true character,

quality and nature 0f the device that           was implanted          in Plaintiffs, but instead they concealed        them

from the    Plaintiffs, their healthcare providers,            and the public        at large.   Defendants’ conduct, as




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described in this Petition, amounts t0 conduct purposely committed, Which Defendants must have


realized     was dangerous, heedless and               reckless, without regard to the consequences 0r the rights


and safety of the        Plaintiffs.


                                       CORPORATENICARIOUS LIABILITY

            103.      At   all    times herein, mentioned, each 0f the Defendants was the agent, servant,


partner, aider       and    abettor, co-conspirator, and/or joint venture              of each of the other Defendants


herein and         was   at all   times operating and acting Within the purpose and scope of said agency,


service,     employment, partnership, conspiracy and/or joint venture and rendered substantial

assistance and encouragement t0 the other Defendants,                           knowing    that their collective     conduct


constituted a breach 0f duty             owed to    the Plaintiffs.


            104.      There exists and,      at all   times herein mentioned, Defendants, and each of them, were


engaged      in the business 0f, or         were successors       in interest t0, entities   engaged     in the business   0f


researching, designing, formulating, compounding, testing manufacturing, producing, processing,


assembling, inspecting, distributing, marketing, labeling, promoting, packaging, prescribing,


and/or advertising for sale, and selling products for use by the Plaintiffs.                     As   such, each Defendant


is liable   to the Plaintiffs for their       damages.


            105.      At   all   times herein mentioned, Defendants, and each 0f them, were engaged in the


business 0f, or were successors in interest                    to, entities   engaged   in the business    of researching,


designing, formulating, compounding, testing, manufacturing, producing, processing, assembling,


inspecting,         distributing,       marketing,      labeling,      promoting,      packaging,     prescribing,    and/or


advertising for sale, and selling products for use                 by   the Plaintiffs for their damages.


            106.      At all times herein mentioned,           the ofﬁcers and/or directors ofthe Defendants          named

herein      participated         in,   authorized     and/or    directed      the   production   and promotion of the




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aforementioned products When they knew, 0r With the exercise of reasonable case and diligence


should have known, of the hazards and dangerous propensities of said products, and thereby


actively participated in the tortious conduct that resulted in the injuries suffered                       by   the Plaintiffs.


                                                  FIRST CAUSE OF ACTION

                                                         NEGLIENCE

         107.         Plaintiffs re-allege           and incorporates by reference each and every allegation

contained in the foregoing paragraphs as though fully set forth herein.


         108.         At   all   times relevant to this cause 0f action, the Defendants Bard,              BPV, and DOES

1-100 were in the business 0f designing, developing, setting speciﬁcations, manufacturing,


marketing, selling, and distributing the Bard                Filter.



         109.         Defendants designed, manufactured, marketing, inspected, labeled, promoted,


distributed,    and sold the Bard           Filter   implanted in   Plaintiffs.


         110.         Defendants had a duty t0 exercise reasonable and prudent case in the development,


testing, design,       manufacture, inspection, marketing, labeling, promotion, distribution, and sale 0f


the   Bard   Filter so as to       avoid exposing others t0 foreseeable and unreasonable risks 0f harm.


         111.         Defendants knew 0r reasonably should have                      known      that the   Bard     Filter   was

dangerous 0r was likely to be dangerous when used in                        its   intended or a reasonably foreseeable


manner.


         112.         At the time of manufacturer and           sale   of the Bard   Filter,   Defendants   knew     or should


have known          that the     Bard   Filter:



               a.     Was    designed and manufactured in such a manner so as t0 present an unreasonable


                      risk of fracture of portions 0f the device;




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             b.    Was     designed and manufactured so as t0 present an unreasonable risk of migration


                   0f the device and/or portions 0f the device; and/or


             c.    Was     designed and manufactured so as t0 present an unreasonable risk 0f the device


                   tilting     and/or perforating the vena cava wall;


             d.    Was     designed and manufactured to have unreasonable and insufﬁcient strength or


                    structural integrity t0 withstand        normal placement Within the human body.

          113.     At    the time of manufacture and sale of the          Bard       Filter,   Defendants knew or should


have known        that using the    Bard     Filter in its intended    use 0r in a reasonably foreseeable manner


created a signiﬁcant risk of a patient suffering severe health side effects, including, but not limited


t0:   hemorrhage; cardiac/pericardial tamponade; cardiac arrhythmia and other symptoms similar to


myocardial infarction; perforations of tissue, vessels, organs and other severe personal injuries and


diseases,   Which    are   permanent in nature, including, but not limited              t0,    death, physical pain, mental


anguish, scarring and disﬁgurement, diminished enjoyment 0f                           life,    continued medical care and


treatment due to chronic injuries/illness proximately caused                    by   the device, and the continued risk


0f requiring additional medical and surgical procedures including general anesthesia, With


attendant risk 0f life threatening complications.


          114.     Defendants knew or should have reasonably                    known          that   consumers of the Bard

Filter   would not      realize the danger associated With using the device in                  its   intended use and/or in a


reasonably foreseeable manner.


          115.     Defendants breached their duty t0 exercise reasonable and prudent care in the


development,        testing,      design,     manufacture,        inspection,    marketing,             labeling,   promotion,


distribution,     and   sale   of the Bard   Filter in,   among   other ways, the following acts and omissions:




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     Designing and distributing a product in which they knew or should have                                    known

     that the likelihood   and severity 0f potential harm from the product exceeded the

     burden of taking safety measures to reduce or avoid harm;

     Designing and distributing a product in which they knew or should have                                    known

     that the likelihood   and severity 0f potential harm from the product exceeded the

     likelihood 0f potential     harm from     other devices available for the                same purpose;

     Failing to use reasonable care in manufacturing the product and producing a


     product that differed from their design 0r speciﬁcations or from other typical units


     from the same production        line;



     Failing t0 use reasonable care t0             warn or   instruct, including pre-               and   post-sale,


     Plaintiffs, Plaintiffs’ physicians, or the general health care                     community about          the


     Bard   Filter’s substantially   dangerous condition or about facts making the product


     likely to   be dangerous;

     Failing to perform reasonable pre- and post-market testing of the                              Bard   Filter t0


     determine Whether 0r not the product was safe for                 its   intended use;


     Failing to provide adequate             instructions,     guidelines,        and safety precautions,

     including pre- and post-sale to those persons to           whom it was reasonably foreseeable

     would   prescribe, use,   and implant the Bard          Filter;



     Advertising, marketing, and         recommending the use 0f                       the   Bard    Filter,   While


     concealing and failing to disclose or warn 0f the dangers                    known by Defendants             to


     be connected With and inherent in the use of its Bard                   Filter;




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              h.   Representing that the Bard Filter was safe for                  its   intended use   When   in fact


                   Defendants knew and should have                known     that the product   was not    safe for    its



                   intended purpose;


              i.   Continuing manufacture and sale 0f the Bard Filter with the knowledge that said


                   product was dangerous and not reasonably safe, and failing to comply with                        FDA

                   good manufacturing         regulations;


             j.    Failing t0 use reasonable and prudent care in the design, research, manufacture, and


                   development of the Bard           Filter so as t0    avoid the risk of serious harm associated


                   With the use 0f the Bard      Filter;



              k.   Advertising, marketing, promoting, and selling the Bard Filter for uses other than


                   as   approved and indicated in the product’s           label;


              1.   Failing    t0   establish    an    adequate        quality   assurance   program used       in    the


                   manufacturing 0f the Bard          Filter;   and

              m. Failing     to establish   and maintain an adequate post-market surveillance program.

          116.     A    reasonable manufacturer, distributor, 0r seller under the same or similar


circumstances would not have engaged in the before-mentioned acts and omissions.


          117.     As   a direct and proximate result 0f the foregoing negligent acts and omissions                   by

Defendants, Plaintiffs suffered and Will continue t0 suffer serious physical injuries, economic                     loss,


loss   of enj oyment of life,   disability,   and other    losses, in   an amount of be determined      at trial.


                                      SECOND CAUSE OF ACTION

  STRICT PRODUCT LIABILITY — INFORMATION DEFECT, FAILURE TO WARN

          118.     Plaintiffs re-allege       and incorporates by reference each and every allegation

contained in foregoing paragraphs as though fully set forth herein.




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         119.    Defendants designed,        set speciﬁcations,       manufactured, prepared, compounded,


assembled, processed, marketed, labeled, distributed, and sold the Bard                     Filter,   including the one


implanted in    Plaintiffs, into the   stream of commerce and in the course             0f, directly     advertised and


marketed the device t0 consumers or persons responsible for consumers.

         120.    At   the   time    Defendants         designed,     manufactured,       prepared,        compounded,

assembled, processed, marketed, labeled, distributed, and sold the device into the stream of


commerce, Defendants knew or should have known the device presented an unreasonable danger

to users   0f the product when put t0        its    intended and reasonably anticipated use. Speciﬁcally,


Defendants knew or should have          known       at the   time they manufactured, labeled, distributed, and


sold the Bard Filter, Which      was implanted        in Plaintiffs, the   Bard   Filter,   posed a signiﬁcant and

higher risk than other similar devices of device failure, fracture, migration,                tilting,   and perforation

0f the vena cava wall. Defendants also knew or should have known that certain conditions or post-


implant procedures, such as morbid obesity 0r open abdominal procedures, could affect the safety


and   integrity of the device.


         121.    Therefore, Defendants had a duty t0              warn 0f the   risk   of harm associated With the


use 0f the device and to provide adequate instructions 0n the safe and proper use 0f the device.


Defendants further had a duty to warn of dangers and proper safety instructions that                          it   became

aware 0f even    after the device   was   distributed    and implanted     in Plaintiffs.


         122.    Despite this duty, Defendants failed to adequately warn of material facts regarding


the safety and efﬁcacy 0f the      Bard   Filter,   and further    failed to adequately provide instructions           on

the safe and proper use 0f the device.




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            123.   No healthcare provider, including those 0f the Plaintiffs, or patient would have used

the device in the intended        manner   as directed has those facts   been made known    to the prescribing


healthcare providers and/or the ultimate users of the device, including the Plaintiffs.


            124.   The health     risks associated with the    Bard   Filter as described herein are   of such a


nature that ordinary consumers           would not have   readily recognized the potential harm.


            125.   Plaintiffs   and   their health care providers   used the device in a normal, customary,


intended, and foreseeable manner,             namely   as a surgically implanted device used to prevent


pulmonary embolisms.

            126.   Therefore, the Bard Filter implanted in Plaintiffs        was   defective and unreasonably


dangerous      at the   time ofrelease into the stream 0f commerce due to inadequate warnings, labeling,


and/or instructions accompanying the product.


            127.   The Bard     Filter   implanted in Plaintiffs was in the same condition as    when     it   was

manufactured, inspected, marketed, labeled, promoted, distributed, and sold by Defendants.


            128.   As    a direct and proximate result of Defendants’ lack of sufﬁcient warning, labeling,


and/or instructions, Plaintiffs have suffered and Will continue to suffer serious physical injuries,


economic      loss, loss   0f enj oyment 0f life, disability, and other losses, in an amount t0 be determined


at trial.


                                          THIRD CAUSE OF ACTION

                           STRICT PRODUCT LIABILITY — DESIGN DEFECT

            129.   Plaintiffs re-allege      and incorporates by reference each and every allegation

contained in the foregoing paragraph as though fully set forth herein.




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         130.       At    all   times relevant to this action, Defendants developed, tested, designed,


manufactured, inspected, labeled, promoted, distributed, and sold into the steam 0f commerce the


Bard   Filter,   including the one implanted in Plaintiffs.


         131.       The Bard       Filter   was expected       t0,    and   did, reach its intended         consumers Without

substantial      change in the condition in which          it   was    in   when   it   left   Defendants’ possession. In the


alternative,     any changes      that   were made    t0 the    Bard    Filter   implanted in Plaintiffs were reasonably


foreseeable t0 the Defendants.


         132.       The Bard      Filter    implanted in Plaintiffs were defective in design because                      it   failed t0


perform as safely as persons             Who   ordinarily use the product           would have expected            at the       time of


use.


         133.       The Bard      Filter    implanted in Plaintiffs were defective in design, in that                     its   risks   of


harm exceeded        is   claimed beneﬁts.


         134.       Plaintiffs    and    their healthcare providers          used the Bard        Filter in a   manner         that   was

reasonably foreseeable t0 Defendants.


         135.       Neither Plaintiffs, nor their healthcare providers could have by the exercise of


reasonable care discovered the devices defective condition or perceived                             its   unreasonable dangers


prior to implantation with the device.


         136.       As    a direct and proximate result of the Bard Filter’s defective design, Plaintiffs


have suffered and Will continue                 to suffer serious physical injuries,                 economic          loss,    loss    0f


enj oyment     of life,   disability,    and other   losses, in      an amount to be determined            at trial.



                                            FOURTH CAUSE OF ACTION
                  STRICT PRODUCT LIABILITY — MANUFACTURING DEFECT




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          137.     Plaintiffs re-allege        and incorporates by reference each and every allegation

contained in the foregoing paragraphs as though fully set forth herein.


          138.     Prior    to,   on,   and   after the date the      Bard    Filter   was implanted            in Plaintiffs,


Defendants       set    speciﬁcations, manufactured, prepared,             compounded, assembled, processed,

marketed, labeled, distributed, and sold the Bard Filter for use within the United States.


          139.     Defendants designed,          set speciﬁcations,      manufactured, prepared, compounded,


assembled, processed, marketed, labeled, distributed, and sold the Bard Filter that was implanted


into Plaintiffs.


          140.     Upon information and belief, the Bard Filter contains manufacturing defects,                          in that


they differed from the manufacturer’s design 0r speciﬁcations, 0r from other typical units 0f the


same product       line   making them inherently unsafe             for use   by healthcare providers             in treating


consumers suffering from pulmonary embolism, including the                     Plaintiffs.


          141.     Plaintiffs     and   their healthcare providers     used the device in     its   intended manner 0r


in a   manner    that   was reasonably foreseeable        to Defendants.


          142.     As    a result of the manufacturing defects, the Bard Filter injured Plaintiffs and failed


t0   perform as safely as the ordinary consumer would expect When used in a reasonably foreseeable

manner.


          143.     As a direct and proximate result of the Bard Filter” s manufacturing defect,                     Plaintiffs


have suffered and Will continue               to suffer serious physical injuries,           economic           loss,   loss   0f


enj oyment   of life,    disability,    and other   losses, in   an amount to be determined         at trial.


                                           FIFTH CAUSE OF ACTION

                                   NEGLIGENT MISREPRESENTATION




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         144.      Plaintiffs     re-allege    and incorporate by reference each and every allegation

contained in the foregoing paragraphs as though fully set forth herein.


         145.      At   all   times relevant to this cause, and as detailed supra, Defendants negligently


provided the      Plaintiffs, their healthcare providers,          and the general medical community, With             false


0f incorrect information, 0r omitted or failed to disclose material information concerning the Bard


Filter, including,    but not limited    t0,   misrepresentations relating to the following subject areas:


             a.    The   safety of the   Bard    Filter


             b.    The efﬁcacy of the Bard         Filter


             c.    The   rate   of failure of the Bard Filter


             d.    The approved uses 0f the Bard            Filter


         146.      The information       distributed      by Defendants     t0 the public, the         medical community,


the Plaintiffs’ healthcare providers             was      in the   form of       reports, press releases,        advertising


campaigns, labeling materials, print advertisements, commercial media containing material


representations,     which were      false    and misleading, and contained omissions and concealment of

the truth about the dangers 0f the use of the                      Bard   Filter.    Defendants made the foregoing


misrepresentations       knowing     that they    were      false 0r Without reasonable basis.              These materials

included instructions for use and warning documents that were included in the packaging of the


Bard   Filter that   was implanted     in Plaintiffs.


         147.      Defendants’ intent and purpose in making these misrepresentations was t0 deceive


and defraud the public and the medical community, including                         Plaintiffs’ healthcare providers; to


gain the conﬁdence of the public and the medical community, including Plaintiffs’ healthcare


providers; to falsely assure        them of the     quality of the        Bard   Filter   and   its   ﬁtness for use; and to




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induce the public and the medical community, including Plaintiffs’ healthcare providers t0 request,


recommend,          prescribe, implant, purchase,       and continue    to use the    Bard    Filter.



           148.       The foregoing representations and omissions by Defendants were                     in fact false.   The

Bard   Filter is not safe, ﬁt,      and effective    for   human use    in its intended     and reasonably foreseeable

manner. The use of the Bard            Filter is   hazardous t0 the user’s health, and said device has a serious


propensity t0 cause users t0 suffer serious injuries, including Without limitation, the injuries


Plaintiffs suffered. Further, the device has a signiﬁcantly higher rate                   0f failure and injury than do


other comparable devices.


           149.       In reliance   upon   the false and negligent misrepresentations and omissions               made by

Defendants, Plaintiffs and their healthcare providers were induced                    t0,   and did use the Bard     Filter,



thereby causing Plaintiffs to sustain severe and permanent personal injuries.


           150.       Defendants knew and had reason t0            know that Plaintiffs,      their healthcare providers,


and the general medical community did not have the                  ability to   determine the true facts intentionally


and/or negligently concealed and misrepresented by Defendants, and would not have prescribed


and implanted the Bard            Filter, if the true facts   regarding the device had not been concealed and


misrepresented by Defendants.


           15 1.      Defendants had sole access to material facts concerning the defective nature 0f the


product and         its   propensity t0 cause serious and dangerous side effects in the form of dangerous


injuries    and damages         t0 persons   Who     are implanted With the        Bard     Filter,   such as persons like


Plaintiffs.


           152.       At    the time Defendants failed to disclose and misrepresented the foregoing facts,


and   at the       time Plaintiffs used the Bard        Filter, Plaintiffs   and     their healthcare providers       were

unaware of said Defendants’ negligent misrepresentations and omissions.




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          153.       Plaintiffs, their healthcare providers,            and general medical community reasonably

relied    upon misrepresentations and omissions made by Defendants where                                 the concealed and


misrepresented facts were            critical t0   understanding the true dangers inherent in the use 0f the Bard


Filter.



          154.       Plaintiffs       and     their     healthcare       providers       reliance      0n     the   foregoing


misrepresentations and omissions               by Defendants” was         the direct and proximate cause 0f Plaintiffs’


injuries as described herein. Plaintiffs               have suffered and Will continue            t0 suffer serious physical


injuries,   economic         loss, loss   of enjoyment 0f life,       disability,   and other    losses, in   an amount t0 be


determined       at trial.



                                     PUNITIVE          DAMAGES ALLEGATIONS
          155.       Plaintiff re-allege each          and every allegation         in this Petition   and incorporate each

allegation into this Count, as if set forth at length, in               its entirety.



          156.       Plaintiffs are entitled to        an award 0f punitive and exemplary damages based upon


Defendants’ intentional, willful, knowing, fraudulent, malicious                        acts,   omissions, and conduct, and


their   complete and         total reckless disregard for the public safety            and welfare.

          157.       Defendants had knowledge              0f,   and were   in possession        0f evidence demonstrating


that, the   Bard     Filter    was   defective and unreasonably dangerous and had a substantially higher


failure rate than did other similar devices              on the market. Yet, Defendants             failed to:


              a.     Inform or warn         Plaintiffs or their health care providers           of the dangers;


             b.      To   establish   and maintain an adequate quality and post—market surveillance system;

                     and

              c.     Recall the      Bard®    Filter   from the market.




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         158.       Defendants acted t0 serve their           own        interests   and having reasons         t0     know and

consciously disregarding the substantial risk that their product might                           kill   or signiﬁcantly    harm

patients, 0r signiﬁcantly injure the rights             of others, and consciously pursued a course 0f conduct


knowing    that such conduct created a substantial risk                 of signiﬁcant harm to other persons.


         159.       As   a direct, proximate, and legal result of Defendants’ acts and omissions a


described herein, and Plaintiffs implantation With Defendants” defective product, Plaintiffs have


suffered and Will continue to suffer serious physical injuries, economic loss, loss of enj oyment of


life, disability,   and other   losses, in   an amount to be determined              at trial.



                                                        DAMAGES
         160.       Plaintiffs re-allege     each and every allegation in            this Petition      and incorporate each

allegation into this Count, as if set forth at length, in               its entirety.



         161.       As   a direct and proximate result 0f the negligent, reckless, and carless conduct 0f


Defendants, Plaintiffs have suffered and Will continue t0 suffer severe injuries Which caused pain,


suffering, distress, mental       and emotional anguish and anxiety, disﬁgurement and impairment, a

general decrease in quality and enjoyment of life,                all   in   an amount t0 be proven        at trial.



         162.       As   a further direct and proximate result 0f the negligent, reckless and careless


conduct of Defendants, Plaintiffs have incurred expenses for medical care, and may incur expenses


for future medical care, all in an      amount to be proven              at trial.



         163.       As   a direct and proximate result 0f the negligent, reckless, and careless conduct 0f


Defendants, Plaintiffs have 0r       may have       suffered lost earnings and           may     suffer future lost earnings


and/or diminished earning capacity,            all in   an amount t0 be proven          at trial.



         164.       As   a further direct and proximate result of the negligent, reckless, and careless


conduct of Defendants, Plaintiffs have incurred expenses for driving to doctor appointments, and




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is entitled to     compensation for mileage driven to doctor appointments,                              all in   an amount to be


proven   at trial.



                                               PRAYER FOR RELIEF
         165.        WHEREFORE,            Plaintiffs    pray for judgment against Defendants, and each other


Defendant named herein, jointly and severally, as follows:


             a.      For   Plaintiffs’ general    and special damages;

             b.      For   Plaintiffs’   expenses incurred for past medical care and future medical treatment


                     of Plaintiffs’   injuries;


             c.      For   Plaintiffs’ past   and future    lost   wages and            loss   of earning capacity;


             d.      For   Plaintiffs’   expenses driving to doctor’s appointments;


             e.      For   Plaintiffs’ costs incurred herein;




                                                      w
             f.      For   interest at the highest legal rate         on   all   damages and       costs   from the time incurred

                     on the date of such judgment, whichever                     is   sooner, until paid; and


             g.      For such other and further relief as the Court deems just and proper.




         Plaintiffs    hereby request a       trial   by jury.



Dated   this 9th   day of June 2020.

                                                            Respectfully submitted,


                                                            /s/ Eric       Przybvsz
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